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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

ALAN AHO,                                    :
               Plaintiff,                    :
                                             :
       v.                                    :              3:09-cv-728 (CFD)
                                             :
PHILIP ANTHONY, NORMAND                      :
SYLVESTRE, ADAM CHITTECK, and                :
COLLIN KONOW,                                :
           Defendants.                       :

                            RULING ON MOTION TO DISMISS

       The plaintiff, Alan Aho, brought this action pursuant to 42 U.S.C. § 1983, alleging that he

was deprived of his rights to vote and due process at a town meeting in Griswold, Connecticut.

Defendants Philip Anthony and Normand Sylvestre have moved to dismiss Aho’s claims against

them pursuant to Federal Rule of Civil Procedure 12(b)(6).1 For the reasons that follow, the

defendants’ motion is granted.

I.     Factual Background2

       Plaintiff Aho is the Chairman of the Griswold Republican Town Committee. Defendant

Anthony is the First Selectman of Griswold. As part of his duties, Anthony is in charge of

the procedures for Griswold town meetings. Defendant Sylvestre is a town meeting moderator

for the Town of Griswold.


       1
         There are two other defendants in this action: Connecticut state troopers Adam Chitteck
and Collin Konow. Troopers Chitteck and Konow previously moved to dismiss Aho’s claims
against them. In a December 4, 2009, ruling, this Court granted in part and denied in part the
troopers’ motion.
       2
        These facts are taken from the allegations of the plaintiff’s Amended Complaint, dated
September 30, 2009, which is the operative complaint. The allegations must be assumed true for
the purpose of resolving the motion to dismiss.

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       On May 21, 2008, a special town meeting was held at Griswold Middle School to discuss

and vote on whether the town should accept state-owned land to build a new recreational

complex. Aho attended the special town meeting and Sylvestre served as the moderator.

Apparently, the issue of whether to accept the land and build the complex was the subject of

considerable political controversy in Griswold.

       Aho alleges that a state trooper ejected him from the meeting after the trooper spoke with

a resident of the town, James Coutu, a political opponent of Aho.3 According to Aho’s Amended

Complaint, there was no physical altercation or audible argument between Aho and Coutu, so the

trooper relied solely on information learned from Coutu. The trooper allegedly did not allow

Aho to give his explanation prior to ejecting him.

       Aho claims he informed the trooper that he had come to the meeting to vote and that he

intended to do so. Aho alleges that the trooper then stated, “You can vote and then I’ll arrest you

or you can leave now.” Aho claims that his opposition to the land acquisition was well known

before the meeting. Neither the town officials (including Anthony) nor the moderator of the

meeting (Sylvestre) prevented his ejection or inquired into the reason for it. After Aho was

ejected, a vote on the recreational complex was held, and the proposal was adopted.

       Aho then filed this action against the two state troopers (Chitteck and Konow), the

moderator of the town meeting (Sylvestre), and the First Selectman of Griswold (Anthony).




       3
         It is disputed what Couto told the trooper. Apparently, Couto claims that Aho had
threatened him, and he relayed that to the trooper.

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II.    Discussion

       To survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6), a plaintiff must state a

claim for relief that is plausible on its face. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). A claim is facially plausible if “the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged. The

plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949

(2009) (internal citations omitted). In determining whether the plaintiff has met this standard, the

Court must accept the allegations in the complaint as true and draw all reasonable inferences in

the light most favorable to the non-moving party. See In re NYSE Specialists Sec. Litig., 503

F.3d 89, 95 (2d Cir. 2007).

       A.      Section 1983 Claims: Personal Involvement

       Anthony and Sylvestre claim that Aho’s Section 1983 claims against them must be

dismissed because the Amended Complaint does not allege sufficient personal involvement by

them. Specifically, Anthony and Sylvestre argue that Aho has not alleged that either of them

prevented Aho from voting or from exercising his due process rights at the Griswold town

meeting.

       Aho brings suit under 42 U.S.C. § 1983, claiming that he was wrongfully deprived of his

rights to vote and due process in violation of the U.S. constitution.4 The right to vote is a


       4
         It is not clear whether Aho asserts independent procedural and substantive due process
claims or whether it is a First Amendment claim brought via a due process violation. Because
Aho’s claims should be dismissed for not sufficiently alleging personal involvement by either
Anthony or Sylvestre, as explained in more detail in the Court’s analysis below, the exact nature
of Aho’s due process claim is not material to the Court’s holding.

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fundamental political right; however, principles of federalism limit the ability of federal courts to

intervene in state elections. See Shannon v. Jacobowitz, 394 F.3d 90, 93–94 (2d Cir. 2005).

Indeed, “[o]nly in extraordinary circumstances will a challenge to a state [or local] election rise

to the level of a constitutional deprivation.” Id. at 94 (alterations in original); cf. Windham

Taxpayers Ass’n v. Bd. of Selectmen of Windham, No. CV 94 0049807 S, 1995 WL 118748, at

*4–5 (Conn. Super. Ct. Mar. 13, 1995) (holding that the right to petition, articulated in Conn.

Gen. Stat. § 7-6, is a fundamental right under the state and federal constitutions). The U.S. Court

of Appeals for the Second Circuit has held that federal due process violations in state or local

voting cases are only cognizable when there is an intentional act on the part of the government or

its officials. See Shannon, 394 F.3d at 96; see also Gold v. Feinberg, 101 F.3d 796, 800 (2d Cir.

1996) (“[M]ore than negligent conduct by the state actor is needed in order for a cognizable §

1983 claim to exist based on violations of the due process clause.”).

       Allegations of personal involvement by the particular defendants is a prerequisite to

liability under a § 1983 claim. See Farrell v. Burke, 449 F.3d 470, 484 (2d Cir. 2006) (“It is well

settled in [the Second] Circuit that personal involvement of defendants in alleged constitutional

deprivations is a prerequisite to an award of damages under § 1983.” (internal quotation marks

omitted)); Gaston v. Coughlin, 249 F.3d 156, 164 (2d Cir. 2001) (“Proof of an individual

defendant’s personal involvement in the alleged wrong is, of course, a prerequisite to his liability

on a claim for damages under § 1983.”); Piscottano v. Town of Somers, 396 F. Supp. 2d 187,

197 (D. Conn. 2005) (citing Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994)). Here, Aho does

not allege that Sylvestre or Anthony took any affirmative action in ejecting him from the town

meeting. Additionally, Aho does not allege that the defendants saw the state troopers remove


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him from the meeting or that they overheard the conversation in which the state trooper told Aho

to leave. The only allegation with respect to the defendants’ personal involvement is that Coutu

(who allegedly complained to the state trooper) was acting in concert with Anthony and

Sylvestre. On a motion to dismiss, “[b]road allegations of conspiracy are insufficient; the

plaintiff “must provide some factual basis supporting a meeting of the minds, such that

defendants entered into an agreement, express or tacit, to achieve the unlawful end.” Arar v.

Ashcroft, 585 F.3d 559, 569 (2d Cir. 2009); see also Malcolm v. Honeoye Falls-Lima Educ.

Assoc., 678 F. Supp. 2d 100, 107 (W.D.N.Y. 2010) (discussing a claim brought pursuant to 42

U.S.C. § 1985, the court stated that “complaints containing only conclusory, vague, or general

allegations that the defendants have engaged in a conspiracy to deprive the plaintiff of his

constitutional rights are properly dismissed; diffuse and expansive allegations are insufficient,

unless amplified by specific instances of misconduct”). Accordingly, Aho has failed to

sufficiently allege the defendants’ personal involvement and his claims that Anthony and

Sylvestre violated his rights to vote and due process, brought under 42 U.S.C. § 1983, are

dismissed.

       B.      Connecticut Statutory Claim: Conn. Gen. Stat. § 7-6

       Aho claims that Conn. Gen. Stat. §§ 7-6 and 7-7 mandate that Anthony and Sylvestre had

an affirmative duty to prevent the state troopers from violating Aho’s rights.5 Section 7-6,

however, only discusses the right to vote in municipal meetings, and Section 7-7 only states that



       5
        An individual has standing to bring suit under Conn. Gen. Stat. § 7-6 if that individual is
a taxpayer and registered voter of the town in which the individual claims his right to vote was
deprived. See Windham Taxpayers Ass’n v. Bd. of Selectmen, No. CV 94 0049807 S, 1995 WL
118748, at *4–5 (Conn. Super. Ct. Mar. 13, 1995).

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“all questions arising in such meetings shall be decided in accordance with standard

parliamentary practice.” See Conn. Gen. Stat. §§ 7-6, 7-7. While it is clear that the moderator

has the power to remove a disorderly person from any town meeting, see Conn. Gen. Stat. § 7-8,

this authority does not mean that the moderator has an affirmative duty to prevent the state

troopers from removing Aho or other citizens.6 With respect to Anthony and Sylvestre, Aho only

alleges that they “permitted [his] ejection without intervening.” Borrowing from the Court’s

foregoing discussion of Aho’s Section 1983 claims, a municipal officer cannot be liable for

failing to prevent another from violating a person’s statutory rights, unless that municipal officer

has an affirmative duty to act. Cf. Musso v. Hourigan, 836 F.2d 736, 743 (2d Cir. 1988) (“A

government official is not liable for failing to prevent another from violating a person’s

constitutional rights, unless the official is charged with an affirmative duty to act.”).

Accordingly, Aho’s statutory claim is dismissed.

       C.      Qualified Immunity

       Even if Aho adequately plead personal involvement by Anthony and Sylvestre, Aho’s

Section 1983 claims should still be dismissed because Anthony and Sylvestre are entitled to

qualified immunity.

       Government officials performing discretionary functions are entitled to qualified

immunity if their conduct does not violate clearly established statutory or constitutional rights

that a reasonable person would have known about. See Harlow v. Fitzgerald, 457 U.S. 800, 818



       6
         Additionally, it appears that in actions brought for a violation of Conn. Gen. Stat. §7-6,
the typical remedy sought is mandamus. See, e.g., Windham Taxpayers Ass’n, 1995 WL
118748, at *5, 9. Aho, however, does not seek mandamus relief. Instead, Aho seeks monetary
damages.

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(1982). The purpose of qualified immunity is to protect officials when they must make difficult

“on-the-job” decisions. See Zieper v. Metzinger, 474 F.3d 60, 71 (2d Cir. 2007). Thus, qualified

immunity protects “all but the plainly incompetent or those who knowingly violate the law” by

giving “ample room for mistaken judgments.” Id. (quoting Hunter v. Bryant, 502 U.S. 224, 229

(1991)).

       In the Second Circuit, the qualified immunity analysis consists of a three-step inquiry

examining whether there is an alleged violation of a constitutional right, whether the right was

clearly established at the time of the conduct, and—if the right was clearly established—whether

the defendants’ actions were objectively reasonable. See Harhay v. Town of Ellington Bd. of

Educ., 323 F.3d 206, 211 (2d Cir. 2003). To be “clearly established,” the contours of a right

must have been sufficiently clear so that a reasonable official would understand that what he is

doing violates that right—unlawfulness must be apparent. See Anderson v. Creighton, 483 U.S.

635, 640 (1987).

               “In determining whether a particular right was clearly established at the
       time defendants acted, [the Second Circuit] has considered three factors: (1)
       whether the right in question was defined with ‘reasonable specificity;’ (2)
       whether the decisional law of the Supreme Court and the applicable circuit court
       support the existence of the right in question; and (3) whether under preexisting
       law a reasonable defendant official would have understood that his or her acts
       were unlawful.”

Yorzinski v. Alves, 477 F. Supp. 2d 461, 469–70 (D. Conn. 2007) (quoting Jermosen v. Smith,

945 F.2d 547, 550 (2d Cir. 1991)). “Only Supreme Court and Second Circuit precedent existing

at the time of the alleged violation is relevant in deciding whether a right is clearly established.”

Moore v. Vega, 371 F.3d 110, 114 (2d Cir. 2004).




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       It is not contested that Aho alleges a violation of his constitutional rights—the right to

vote and the right to due process. Aho’s right, however, was not “clearly established.”

Specifically, it was not clearly established that Anthony and Sylvestre had the affirmative duty to

stop the state troopers from preventing Aho from voting or speaking at the town meeting. See

Musso, 836 F.2d at 743–44 (stating that, in a qualified immunity inquiry, the appropriate

question is whether it was “clearly established” that the defendant had an affirmative duty to

prevent others from infringing on the plaintiff’s First Amendment rights). Furthermore, even if

Aho’s rights were clearly established, Aho has not sufficiently alleged that Anthony or Sylvestre

acted unreasonably. See Lennon v. Miller, 66 F.3d 416, 420 (2d Cir. 1995) (noting that, even if

the plaintiff’s constitutional rights were clearly established, a government officer is entitled to

qualified immunity if his actions were “objectively reasonable”). In particular, Aho has not

alleged that Anthony or Sylvestre saw the state troopers confront and eject him and failed to

prevent it, or that Anthony or Sylvestre ordered his removal from the town meeting. Aho only

alleges that Anthony and Sylvestre were likely conspiring with Coutu to prevent him from

speaking at the meeting. Such alleged conduct is not enough to overcome the “objectively

reasonable” standard. Therefore, the defendants are entitled to qualified immunity on Aho’s

Section 1983 claims.




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III.   Conclusion

       Accordingly, the defendants’ motion to dismiss [Dkt # 25] is GRANTED.

       SO ORDERED this 28th day of February 2011, at Hartford, Connecticut.



                                                  /s/ Christopher F. Droney
                                                  CHRISTOPHER F. DRONEY
                                                  UNITED STATES DISTRICT JUDGE




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